
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1660

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                          AUGUSTO DEJESUS RESTREPO-AGUILAR,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________
                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Rosenn, Senior Circuit Judge,*
                                    ____________________

                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________


            Robert D. Watt, Jr., for appellant.
            ___________________

            Margaret E.  Curran, Assistant United  States Attorney, with  whom
            ___________________
        Sheldon  Whitehouse,  United  States  Attorney, and  Craig  N.  Moore,
        ___________________                                  ________________
        Assistant United  States  Attorney,  were  on brief,  for  the  United
        States.

                                 ____________________

                                   January 30, 1996
                                 ____________________




                            
        ____________________

        *Of the Third Circuit, sitting by designation.















                 LYNCH,  Circuit Judge.  Augusto Restrepo-Aguilar pleaded
                         _____________

            guilty to a charge of unlawful reentry into the United States

            after deportation.   At sentencing, the  district court added

            16 offense levels  under U.S.S.G.   2L1.2(b)(2)  to Restrepo-

            Aguilar's Guidelines sentence, based on a finding that he had

            been  previously   "deported  after   a  conviction   for  an

            aggravated felony."   The sole issue presented is whether the

            term  "aggravated felony"  as  used in    2L1.2(b)(2) of  the

            Guidelines  includes as  a "felony"  a state  drug possession

            offense that would be  only a misdemeanor under  federal law,

            but is a felony under the laws of the convicting state.  This

            question under the  Guidelines is one of  first impression in

            this Circuit, and we answer  it in the affirmative.   We hold

            that  the  district  court   was  required  to  increase  the

            defendant's Guidelines sentence by  16 offense levels, and so

            affirm.


                                          I

                 In 1985, Restrepo-Aguilar,  a citizen  of Colombia,  was

            arrested by Rhode Island authorities on a charge of violating

            the state's drug laws.   After cooperating with the  state in

            obtaining the  arrests of others, he  pleaded nolo contendere
                                                          ____ __________

            to an amended charge  of simple cocaine possession, a  felony

            under  Rhode  Island law,  punishable by  a maximum  of three

            years in prison.  He was sentenced to 2 years of probation.




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                                          2















                 In  December  of  1988,  a  federal deportation  warrant

            issued  for  Restrepo-Aguilar's  arrest.    He   was  finally

            apprehended  on  July 7,  1994,  in  Miami, Florida  and  was

            subsequently  deported.   In January  of 1995,  he resurfaced

            illegally in Providence, Rhode  Island, where he was arrested

            by  Immigration  and  Naturalization   Service  agents.    He

            admitted that he  had never applied for permission to reenter

            the country.  He was indicted and pleaded guilty to one count

            of unlawful reentry into the United States after deportation,

            in violation of 8 U.S.C.   1326.

                 The   defendant  was  sentenced  under    2L1.2  of  the

            Sentencing Guidelines.1   That guideline sets  a base offense

            level ("BOL") of 8 for a conviction of unlawfully entering or

            remaining in the United States.  The guideline then provides:

            "If the defendant previously  was deported after a conviction

            for  an aggravated felony, increase  by 16 levels."  U.S.S.G.

              2L1.2(b)(2) (Nov. 1994).2

                                
            ____________________

            1.  Defendant was sentenced in  June 1995, under the November
            1994  edition of the Guidelines.   All citations  are to that
            edition.

            2.  Section  2L1.2(b)  implements   the  statutory   sentence
            enhancement provisions of 8 U.S.C.   1326(b), which increases
            the  maximum  authorized  term  of  imprisonment  for  aliens
            convicted  under  that  statute   who  previously  have  been
            deported following a conviction for a felony or an aggravated
            felony.  See United  States v. Forbes, 16 F.3d 1294, 1300 n.9
                     ___ ______________    ______
            (1st Cir. 1994).   The  term "aggravated felony"  as used  in
              1326(b)(2)  is defined  at  8 U.S.C.    1101(a)(43).   That
            definition is  substantially the  same (in relevant  part) as
            the  one  that appears  in  application  note  7 to  U.S.S.G.
              2L1.2.

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                                          3















                 The sentencing court concluded that the defendant's pre-

            deportation state  conviction  for possession  of cocaine,  a

            felony under  Rhode Island  law, qualified as  an "aggravated

            felony"  within the meaning of   2L1.2(b)(2), and accordingly

            increased defendant's BOL from  8 to 24.  With  a three-level

            reduction  for acceptance  of  responsibility under  U.S.S.G.

              3E1.1, and  a criminal history category  of II, defendant's

            Guidelines  sentencing range  was 41-51  months.3   The court

            imposed a final sentence of 41 months.

                 Restrepo-Aguilar  contends  that  because  a  first-time

            conviction for  simple possession  of  cocaine is  punishable

            only  as a  misdemeanor under  federal law,4  his 1985  state
                                           _______

            conviction for cocaine possession  cannot be classified as an

            "aggravated   felony"   for   purposes   of   the  Sentencing

            Guidelines.   The government argues that  an offense need not

            be punishable as a felony under federal law in order to be an

            "aggravated  felony"  under    2L1.2(b)(2)  so  long  as  the



                                
            ____________________

            3.  In  contrast,  the   defendant's  total  offense   level,
            adjusted   for   a   two-level  credit   for   acceptance  of
            responsibility under U.S.S.G.   3E1.1(a), would have  been 6,
            corresponding to a Guidelines  sentencing range of 1-7 months
            (assuming  a  criminal  history   category  of  II),  had  no
            enhancement been applied.

            4.  Because a conviction under the  Controlled Substances Act
            for  a  first offense  of  simple  possession of  cocaine  is
            punishable by no more than one year in  prison, see 21 U.S.C.
                                                            ___
              844(a),   such  a  conviction  would  be   for  a  Class  A
            misdemeanor under the general federal  classification scheme,
            see 18 U.S.C.   3559(a).
            ___

                                         -4-
                                          4















            offense is punishable as a felony under the law  of the state

            of conviction.


                                          II

                 The  controlling  definition  of  the  term  "aggravated

            felony"  is  set  forth in  application  note  7 to  U.S.S.G.

              2L1.2.  That commentary provides in relevant part:

                 "Aggravated felony," as  used in subsection (b)(2),
                 means   . . .  any   illicit  trafficking   in  any
                 controlled  substance  (as  defined  in  21  U.S.C.
                   802),  including any  drug  trafficking  crime as
                 defined  in  18 U.S.C.    924(c)(2);  . . .  or any
                 attempt or conspiracy to commit  any such act.  The
                 term  "aggravated  felony"   applies  to   offenses
                 described  in  the  previous  sentence  whether  in
                 violation of federal or state law . . . .

            U.S.S.G.     2L1.2,  comment.  (n.7) (Nov.  1994).    Section

            924(c)(2) provides, in turn:

                  [T]he  term "drug  trafficking  crime"  means  any
                  felony punishable under the  Controlled Substances
                  __________________________________________________
                  Act  (21  U.S.C.  801  et  seq.),  the  Controlled
                  ___
                  Substances Import and Export Act (21 U.S.C. 951 et
                  seq.), or  the Maritime  Drug Law  Enforcement Act
                  (46 U.S.C. App. 1901 et seq.).

            18 U.S.C.   924(c)(2) (emphasis added).

                  Restrepo-Aguilar   contends   that  his   1985   cocaine

            possession offense  is excluded from the  definition of "drug

            trafficking crime"  and is  not an "aggravated  felony" under

              2L1.2(b)(2) because it would be classified as a misdemeanor

            under federal  law.5   The question  posed, then,  is whether

                                
            ____________________

            5.  He also  argues more broadly  that the offense  of simple
            possession  of cocaine is not an aggravated felony because it
            does  not   fall  within   the  common  definition   of  drug

                                         -5-
                                          5















            first-time  cocaine  possession,  "whether  in  violation  of

            federal or  state law," U.S.S.G.   2L1.2,  comment. (n.7), is

            an "aggravated  felony" if  it is  a felony  under applicable

            state law but is  punishable only as a misdemeanor  under the

            federal Controlled Substances Act ("CSA").

                  Restrepo-Aguilar  bases  his argument  on  a  particular

            reading of the Guidelines  and on the recent decision  by the

            Board of Immigration Appeals in In Re  L-G-, Interim Decision
                                            ___________

            3254, 1995 WL 582051  (BIA Sept. 27, 1995), interpreting  the

            term  "aggravated felony"  under  the immigration  laws.   He

            appropriately  concedes  that the  BIA's  decision is  flatly

            inconsistent with the Second  Circuit's opinion in Jenkins v.
                                                               _______

            INS, 32 F.3d 11 (2d Cir. 1994), and that there is language in
            ___

            various opinions  by this  Circuit disfavoring  his position.

            We  believe   that  the  text  of   the  relevant  provisions

            forecloses his argument and that the Second Circuit's reading

            is preferable to that of the BIA.

                  The defendant's  interpretation is  not consistent  with

            the  definition  of  "aggravated  felony" set  forth  in  the

            commentary to    2L1.2.   His  argument  is contrary  to  the

            application note's  instruction that the definition  is to be

            applied to offenses "whether in violation of federal or state


                                
            ____________________

            "trafficking."   We  reject this  contention without  further
            discussion, as  it is clearly  foreclosed by the  decision of
            this court in United  States v. Rodriguez, 26 F.3d  4, 6 (1st
                          ______________    _________
            Cir. 1994).

                                         -6-
                                          6















            law."    It  also  contradicts  the  definition  of  "felony"

            explicitly provided in the  CSA, which is referred to  in the

            application note.

                  Defendant reads 18  U.S.C.   924(c)(2) as if it  defined

            "drug  trafficking  crime" as  any  offense  punishable as  a
                                                                    __  _

            felony under the  CSA.  But  that is  not how   924(c)(2)  is
            ______ _____

            written.   The statutory definition plainly  does not require

            that an offense, in  order to be a drug trafficking crime, be

            subject to a particular magnitude of punishment if prosecuted

            under  the  CSA,  as  defendant's  preferred  reading   would

            suggest.    Rather, the  definition  requires  only that  the

            offense be  a "felony  punishable" thereunder.   Indeed, this

            court has expressly  interpreted   924(c)(2)'s definition  of

            "drug   trafficking  crime"  as   encompassing  two  separate
                                                                 ________

            elements:  (1)  that  the  offense be  punishable  under  the

            Controlled  Substances Act (or one  of the other two statutes

            identified);  and (2) that the  offense be a  felony.  United
                                                                   ______

            States v. Forbes,  16 F.3d  1294, 1301 (1st  Cir. 1994);  see
            ______    ______                                          ___

            also  United  States v.  Rodriguez, 26  F.3d  4, 6  (1st Cir.
            ____  ______________     _________

            1994); Jenkins, 32 F.3d at 14 (following Forbes and Amaral v.
                   _______                           ______     ______

            INS, 977 F.2d 33, 36 n.3 (1st Cir. 1992)).  We adhere to this
            ___

            established   interpretation   and  reject   the  defendant's

            contrary construction.

                  Section  924(c)(2)'s  definition  of  "drug  trafficking

            crime"   by  its   terms  includes   "any  felony"   that  is
                                                  ___



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                                          7















            criminalized under the  CSA.  The  definition does not  limit

            its  application  to offenses  that  would  be classified  as

            felonies if  prosecuted under federal law.   Furthermore, the

            CSA  itself defines a felony as "any Federal or State offense

            classified by applicable  Federal or State law  as a felony."

            21 U.S.C.   802(13).  Under the CSA's unambiguous definition,

            a  state offense (of  the type within  the scope of  the CSA)

            which  is classified  as  a  felony  under  the  law  of  the

            convicting state would clearly  qualify as a felony for  that

            definition's purposes, even if  the offense could be punished

            only as a misdemeanor under federal law.  See Forbes, 16 F.3d
                                                      ___ ______

            at 1301  n.10; Amaral, 977 F.2d  at 36 n.3.   As Judge Walker
                           ______

            has cogently observed,

                  Section  802(13)'s  explicit  reliance   on  state
                  classifications represents  a Congressional choice
                  to  include   within  the  category   of  'felony'
                  offenses under the Controlled Substances Act . . .
                  those  crimes deemed serious  enough by  states to
                  warrant    felony     treatment    within    their
                  jurisdictions.

            Jenkins, 32 F.3d at 14.
            _______

                  There  is no  reason to suppose that  either Congress or

            the Sentencing Commission, in defining "aggravated felony" by

            reference   to  18   U.S.C.     924(c)(2),   which  in   turn

            specifically  relies on the CSA,  was unaware of  or chose to

            dismiss the  definition of "felony" provided  there.  Indeed,

            quite the opposite is likely  to be true.  The  CSA's primary

            purpose in carving  out a  class of offenses  as felonies  is
            _______



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                                          8















            precisely  the same  as Congress'  purpose in  doing so  in 8

            U.S.C.    1326(b) and the  Sentencing Commission's purpose in

            implementing  that statute  in    2L1.2(b):   to establish  a

            basis  for the  imposition  of sentence  enhancements.   See,
                                                                     ___

            e.g.,   21  U.S.C.    841(b)   (providing  increased  maximum
            ____

            sentence for defendants with a prior felony conviction).  The

            Commission   intended   the   "aggravated  felony"   sentence

            enhancement   to  operate  harmoniously   with  the  specific

            definition  given to the term  "felony" in the  CSA, the very

            statute  by   reference  to  which   "aggravated  felony"  is

            ultimately defined.  Cf.  Greenwood Trust Co. v. Commonwealth
                                 ___  ___________________    ____________

            of  Mass., 971 F.2d 818, 827  (1st Cir. 1992) (when a statute
            _________

            borrows  language  from  another statute,  the  two  statutes

            should be  read consistently), cert.  denied, 113 S.  Ct. 974
                                           _____  ______

            (1993).

                  We hold that a state drug  offense is properly deemed  a

            "felony"  within  the meaning  of  18  U.S.C.   924(c)(2)  as

            incorporated by  application note  7 to U.S.S.G.    2L1.2, if

            the offense is classified  as a felony under  the law of  the

            relevant  state, even if the same offense would be punishable

            only  as  a misdemeanor  under federal  law.   See  21 U.S.C.
                                                           ___

              802(13).   In  Rhode  Island,  a  first offense  of  simple

            possession of cocaine carries  a maximum term of imprisonment

            of three years, see R.I. Gen. Laws   21-28-4.01(C)(1)(a), and
                            ___

            is therefore a  felony under the  laws of that  jurisdiction.



                                         -9-
                                          9















            See R.I. Gen. Laws   11-1-2 (defining  "felony" as an offense
            ___

            punishable by a term of imprisonment exceeding one year); cf.
                                                                      ___

            18 U.S.C.    3559(a) (categorizing as  felonies all  offenses

            not   otherwise  classified  by  the  statutes  defining  the

            offenses that  are punishable  by prison terms  exceeding one

            year).   Restrepo-Aguilar's  1985 cocaine  possession offense

            was thus a  felony under  Rhode Island law  and qualifies  as

            "any  felony" within  the meaning  of 18  U.S.C.   924(c)(2).

            Since that offense is  also punishable under the CSA,  see 21
                                                                   ___

            U.S.C.   844(a),  it qualifies as a  "drug trafficking crime"

            under    924(c)(2) and  hence as  an "aggravated  felony" for

            purposes of U.S.S.G.   2L1.2(b)(2).

                  Beyond  purely textual  considerations,  this  result is

            most consistent  with the approach favored  by the Sentencing

            Guidelines.   In measuring  the seriousness of  a defendant's

            criminal  record, the Guidelines  operate on the foundational

            premise that  a defendant's  history of criminal  activity in

            violation of  state law is  to be treated  on a par  with his
                          _____

            history  of crimes committed in violation of federal law.  To

            this end, the commentary  to the Guidelines' central criminal

            history  provision  states:  "[p]rior convictions  [that  are

            relevant  to  a defendant's  criminal  history  category] may

            represent convictions  in  the federal  system,  fifty  state

            systems, the District of Columbia, territories, and  foreign,

            tribal, and  military courts."    U.S.S.G.   4A1.1,  comment.



                                         -10-
                                          10















            (backg'd).   This principle  that criminal history  cannot be

            viewed through a purely federal lens is also reflected in the

            commentary to  the "aggravated felony"  enhancement at  issue

            here    which  at  bottom is  nothing  more than  a  criminal

            history adjustment,  albeit a severe one,  for prior offenses

            of  a  particular kind.    U.S.S.G.    2L1.2, comment.  (n.7)

            (directing that the enhancement  be applied to prior offenses

            of the  relevant  sort "whether  in violation  of federal  or

            state law").

                  The Sentencing  Commission  fully  recognized  that  the

            seriousness of any particular  state offense in a defendant's

            record  might  be  viewed differently  across  jurisdictional

            lines.   To the objection that the result reached today could

            mean  variations in  federal criminal  sentences for  illegal

            aliens based  on whether the  50 states classify  offenses as

            felonies  or not,  the  response is  that  any such  lack  of

            uniformity is  the consequence of a  deliberate policy choice

            by  Congress and  the  Commission that  we cannot  disregard.

            See, e.g.,  U.S.S.G.   4A1.2(o) (defining "felony offense" by
            ___  ____

            reference to penalty authorized by federal or state law, such
                                                       __

            that determination whether offense  is felony could vary from

            state to state);   4B1.2, comment. (n.3) (same); cf. Jenkins,
                                                             ___ _______

            32 F.3d at 14.

                  Our result is  also consistent with other provisions  in

            the Sentencing Guidelines  that use the  term "felony."   The



                                         -11-
                                          11















            offense of  cocaine possession is punishable  in Rhode Island

            by  a term of  imprisonment of up  to three years.   See R.I.
                                                                 ___

            Gen.  Laws    21-28-4.01(C)(1)(a).    Even  apart  from   the

            unambiguous definition  of "felony" provided in  the CSA, see
                                                                      ___

            21 U.S.C.   802(13), categorizing defendant's 1985 possession

            offense  as a felony is fully  consistent with the definition

            of that  term that  pervades the  criminal history and  prior

            offense  enhancement  provisions  scattered   throughout  the

            Guidelines:   any federal  or state offense  punishable under
                                       __

            applicable law by  a term  of imprisonment of  more than  one

            year.   See U.S.S.G.   4A1.2(o); see  also U.S.S.G.    2D1.1,
                    ___                      _________

            comment.  (n.16(a)), 2K1.3,  comment. (n.4),  2K2.1, comment.

            (n.5), 4A1.1, comment. (backg'd),  and 4B1.2, comment. (n.3);

            cf.  18  U.S.C.   3559(a).    Nothing  in   2L1.2(b)(2),  the
            ___

            accompanying commentary, or the related  statutes requires us

            to adhere to a different understanding of "felony" here.

                  The recent decision of the Board of Immigration  Appeals

            in In Re  L-G-, Interim  Decision 3254, 1995  WL 582051  (BIA
               ___________

            Sept.  27,  1995),  does  not  persuade us  otherwise.    The

            decision in  L-G- did  not involve any  consideration of  the
                         ____

            aggravated felony  sentence enhancement  at issue here.6   At

            stake in  L-G- was, instead, the petitioner's  right to apply
                      ____


                                
            ____________________

            6.  This  court's decision in Amaral v. INS, 977 F.2d 33 (1st
                                          ______    ___
            Cir.  1992) and the Second  Circuit's decision in  Jenkins   
                                                               _______
            both of which, in any event, support our holding here   could
            be distinguished on this same ground.

                                         -12-
                                          12















            for  asylum and  request withholding  of deportation  under 8

            U.S.C.    1158 &amp; 1253(h).  To be sure, the decision turned on

            the  definition of  "aggravated  felony" as  set  forth in  8

            U.S.C.   1101(a)(43), which, in relevant part, is the same as

            the  definition provided  in application  note 7  to U.S.S.G.

              2L1.2,  but the relevant context was  different.  The BIA's

            decision rested  to a  significant degree on  policy concerns

            relating  to  the  consequences  flowing from  a  deportation

            decision  or  a  decision  on  an  application  for  asylum,7

            without regard to any of the policies that inform the meaning

            of  "aggravated felony" in the context of the statutory prior

            offense enhancement or its  implementation in the  Sentencing

            Guidelines.8    That the  BIA was  persuaded  by some  of the

            policies undergirding deportation  and asylum  determinations

            to   interpret  "aggravated   felony"  as   excluding  state-

            classified  felonies  punishable only  as  misdemeanors under

            federal law does not convince  us that Congress, in  creating

                                
            ____________________

            7.  See,  e.g., L-G-,  slip op.  at 20 (stating  concern that
                ___   ____  ____
            alien found to have been convicted of aggravated felony might
            be  "barred  by  [the  immigration statutes]  from  receiving
            withholding of deportation, even if he faced imminent harm or
            death due to persecution in his native country").

            8.  One  of the reasons given by the BIA for disregarding the
            definition  of "felony" provided in the CSA is that "the term
            'felony' is primarily used in 21 U.S.C.   802(13) to  trigger
            statutory sentence  enhancement for repeat  offenders," L-G-,
                                                                    ____
            slip  op. at 16, rather  than "to describe  offenses that are
            punishable under its provisions."  This distinction weighs in
            favor of, not  against, the  use of the  CSA's definition  in
            applying  the  sentence  enhancement  provision  of  U.S.S.G.
              2L1.2(b)(2).

                                         -13-
                                          13















            the aggravated felony sentence enhancement, or the Sentencing

            Commission,  in implementing it,  intended the  same result.9

            We decline to adopt the BIA's reasoning here.10


                                         III

                  Because  the  cocaine  possession   offense  for   which

            defendant Restrepo-Aguilar  was convicted in  1985 under  the

            laws  of Rhode Island counts as "any felony" in the requisite

            sense and  is criminalized by the  Controlled Substances Act,

            that  offense is  a "felony  punishable under  the Controlled

            Substances Act" and thus falls within the definition of "drug

            trafficking  crime" set  forth in  18 U.S.C.    924(c)(2), as

            adopted  in U.S.S.G.   2L1.2,  comment. (n.7).   Accordingly,

            that offense qualifies as an "aggravated felony" for purposes

            of   2L1.2(b)(2), and  the district court  correctly enhanced

                                
            ____________________

            9.  Moreover, the BIA's analysis suffers from one of the same
            difficulties that lead us  to reject the defendant's argument
            here.  The BIA reads 18 U.S.C.   924(c)(2) as if that statute
            required  an offense to be  punishable as a  felony under the
                                                   __ _  ______ _____
            Controlled Substances Act in order to be a "drug  trafficking
            crime."   Indeed, the BIA  at several places  in its decision
            paraphrases   924(c)(2)'s definition in just that way.  L-G-,
                                                                    ____
            slip  op. at  7, 9, 11,  13, 22-23.   This  alteration of the
            statute's  actual syntax  is more  than merely  cosmetic, and
            indeed is substantively inconsistent with the construction of
              924(c)(2) given in Rodriguez, 26 F.3d at 6; Forbes, 16 F.3d
                                 _________                ______
            at 1301; and Amaral, 977 F.2d at 35.
                         ______

            10.  Because we are not  bound by the BIA's L-G-  decision in
                                                        ____
            any sense,  we need not  decide whether the  term "aggravated
            felony" could,  in principle, bear a different interpretation
            for purposes of sentence enhancement under 8 U.S.C.   1326(b)
            and  the  Guidelines,  than  for purposes  of  the  statutory
            provisions concerning asylum and withholding  of deportation,
            8 U.S.C.    1158 &amp; 1253(h).

                                         -14-
                                          14















            defendant's base offense level by 16  levels pursuant to that

            guideline.11


                  Affirmed.
                  _________









































                                
            ____________________

            11.  Of course, if  we are wrong, the Commission  can correct
            us by amending   2L1.2(b)(2) or the accompanying commentary.

                                         -15-
                                          15









